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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
___________________________________________________________ X

CASEY CUNNINGHAM, CHARLES E.
LANCE, STANLEY T. MARCUS, LYDIA
PETTIS, and JOY VERONNEAU, individually
and as representatives of a class of participants
and beneficiaries on behalf of the Cornell
University Retirernent Plan for the Ernployees of
the Endowed Colleges at Ithaca and the Cornell
University Tax Defei‘red Annuity Plan,

Plaintiffs, lo-cv-6525 (PKC)
-against- ORDER
CORNELL UNIVERSITY, THE RETIREMENT
PLAN OVERSIGHT COMMITTEE, MARY G.
OPPERMAN, and CAPFINANCIAL
PARTNERS, LLC d/b/a/ CAPTRUST
FINANCIAL ADVISORS,

Defendants.
___________________________________________________________ X

CASTEL, U.S.D.J.

On February ll, 2019, the Court granted defendants Cornell University, The
Retirernent Plan Oversight Cornrnittee, and Mary G. Opperrnan (“Cornell Defendants”)’s motion
to provisionally hold certain documents in their entirety under seal for fourteen days. (Doc 256).
The Court has since received motions to seal some or all of these documents from defendant
CAPTRUST Financial Advisors (Doe 257) and non~party Fidelity Managenient Tiust Cornpany
(Doc 269). Cornell Defendants stated in their letter of February 5, 2019, that they had in their
possession redacted copies of the disputed documents With redactions proposed by Fidelity and
that they could file redacted versions of the documents immediately (Doc 256). After consulting
With Fidelity and CAPTRUST on redactions satisfactory to all moving parties, Cornell Defendants

shall filed redacted versions of the documents that Were provisionally sealed on February l l, 2019.

 

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The documents currently under provisional seal by Order of February ll, 2019 shall remain fully

under seal until they are replaced With their redacted versions.

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There are also pending motions to seal With respect to several other documents filed

by the Cornell Defendants and listed in Exhibit A of Doc 243. (WS_e_e_ Docs 257, 261, 263). These

documents currently appear on the docket in redacted form, and require no fulther action on the

part of the Cornell Defendants. (E Doc 243). The Court vvill defer decision on the motions to

seal pending disposition of their accompanying underlying motions to exclude and for summary

judgment

SO ORDERED.

Dated: NeW Yorl<, NeW York
February 25, 2019

 

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/ P. KevinlCastel
United States District Judge

l Fidelity’s motion to seal includes one additional document, Doc 252-l, not mentioned in the provisional order, (See
Doc 270 at 3). As a redacted version of Doc 252-l already appears on the docket, no further action is necessary with

respect to this document

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